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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                Case No. 17-cv-24516-KMW

  COREY C. CHARLTON,

           Plaintiff,

  vs.

  STATE OF FLORIDA,

           Defendant.
                               /

                                             ORDER

           THIS MATTER is before the Court on Magistrate Judge Lisette M. Reid’s corrected

  report and recommendation (DE 35) (“Report”) regarding Plaintiff Corey Charlton’s

  petition for writ of habeas corpus filed pursuant to 28 U.S.C. § 2254. Mr. Charlton filed a

  notice of appeal indicating that he is appealing the Order entered on July 8, 2020 to the

  U.S. Court of Appeals for the Eleventh Circuit. 1 (DE 36). The Clerk’s office erroneously

  docketed Mr. Charlton’s notice of appeal as “Objections / Notice of Appeal.” However,

  other than stating that he is appealing the Report, Mr. Charlton’s notice does not actually

  articulate any objections to the Report. No objections were otherwise filed and the time

  to do so has passed.

           Upon an independent review of the Report, the record, and applicable case law, it

  is ORDERED AND ADJUDGED that:

        1. The conclusions in the Report (DE 35) are AFFIRMED AND ADOPTED.

        2. This action is DISMISSED.



  1
   The only Order entered on July 8, 2020 was Magistrate Judge Reid’s Report, thus, Mr. Charlton’s
  appeal appears to be of the Report.
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     3. No certificate of appealability shall issue.

     4. All pending motions are DENIED AS MOOT.

     5. The Clerk is directed to CLOSE this case.

     6. The Clerk is directed to transmit Mr. Charlton’s notice of appeal (DE 36) to the US

         Court of Appeals for the Eleventh Circuit.

     DONE AND ORDERED in Chambers in Miami, Florida, this 2nd day of October, 2020.




  cc:
  Corey C. Charlton
  551709
  Martin Correctional Institution
  Inmate Mail/Parcels
  1150 SW Allapattah Road
  Indiantown, FL 34956




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